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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

     UNITED STATES OF AMERICA

     vs.                                           CASE NO. 6:09-CR-210-ORL-19GJK

     RICHARD BENJAMIN OWEN, JR.

                                              ORDER

            This case having been considered by the Court on Report and Recommendation

     Concerning Plea of Guilty (Doc. No. 79, filed January 26, 2010) and no objection thereto

     having been filed, it is ORDERED:

            1.      The Report and Recommendation of the United States Magistrate Judge (Doc.

     No. 79) is ACCEPTED, AFFIRMED AND ADOPTED.

            2.      Defendant Richard Benjamin Owen, Jr. has entered a plea of guilty to Count

     One of the Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and

     Defendant is adjudicated guilty of Count One of the Indictment.

            3.      Ruling on acceptance of the Plea Agreement (Doc. No. 53, filed January 15,

     2010) is deferred until the time of sentencing.

            DONE AND ORDERED at Orlando, Florida, this           27th    day of January, 2010.




     Copies to:
     Assistant United States Attorney
     Attorney for Defendant
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     United States Marshal
     United States Probation
     United States Pretrial Services
     Defendant
     Courtroom Deputy
